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         UNITED STATES DISTRICT COURT * * * * * * * EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

COALITION FOR WORKFORCE                                 §
INNOVATION, ASSOCIATED BUILDERS                         §
AND CONTRACTORS OF SOUTHEAST                            §
TEXAS, ASSOCIATED BUILDERS AND                          §
CONTRACTORS, INC., FINANCIAL                            §
SERVICES INSTITUTE, INC., NATIONAL                      §
FEDERATION OF INDEPENDENT                               §
BUSINESS, CHAMBER OF COMMERCE OF                        §
THE UNITED STATES OF AMERICA,                           §
NATIONAL RETAIL FEDERATION, and                         §
AMERICAN TRUCKING ASSOCIATIONS,                         §
                                                        §
versus                                                  §    CIVIL ACTION NO. 1:21-CV-130
                                                        §
JULIE SU, in her official capacity as                   §
Secretary of Labor, United States Department            §
of Labor, JESSICA LOOMAN, in her official               §
capacity as Principal Deputy Administrator,             §
Division of Wage and Hour, and UNITED                   §
STATES DEPARTMENT OF LABOR                              §

                                THIRD AMENDED SCHEDULING ORDER

Defendants’ Unopposed Motion for Extension of Time (#91) is granted in part. The Scheduling Order in this
case is amended as follows.1

1. May 24, 2024                       DEFENDANTS shall file their cross-motion for summary judgment and
                                      their response to Plaintiffs’ motion for summary judgment by this date.

2. June 14, 2024                      PLAINTIFFS shall file their reply in support of their motion for summary
                                      judgment and their response to Defendants’ motion for summary judgment
                                      by this date.

3. July 5, 2024                       DEFENDANTS shall file their reply in support of their motion for
                                      summary judgment by this date.

4. July 15, 2024                      The PARTIES shall file a joint appendix of excerpts from the
                                      Administrative Record cited by the parties in their briefing. Three hard
                                      copies of the appendix must also be submitted to the court.


SIGNED at Beaumont, Texas, this 21st day of June, 2024.




                                    ________________________________________
                                                MARCIA A. CRONE
                                         UNITED STATES DISTRICT JUDGE



         1
         General Proviso: This scheduling order does not relieve the parties from obtaining leave of court whenever
required by statute, the Federal Rules of Civil Procedure, local rule, or case law.
